  8:11-cr-00127-LSC-TDT              Doc # 37   Filed: 05/19/11       Page 1 of 1 - Page ID # 67



                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                               )
                                                        )              8:11CR127
                        Plaintiff,                      )
                                                        )
         vs.                                            )               ORDER
                                                        )
CARLOS FRANCISCO GASPAR-PENA,                           )
JOSE LUIS RIVERA, and                                   )
JUAN RODRIGUEZ,                                         )
                                                        )
                        Defendants.                     )



         This matter is before the court on the motion for an extension of time by defendant Jose Luis
Rivera (Rivera) (Filing No. 35) and Juan Rodriguez (Rodriguez) (Filing No. 36). Both defendants seek
an extension of thirty days in which to file pretrial motions in accordance with the progression order
(Filing No. 22). It is represented that government's counsel has no objection to the motion. Rivera has
filed an affidavit wherein he consents to the motion and acknowledges he understands the additional
time may be excludable time for the purposes of the Speedy Trial Act. Rodriguez's counsel represents
Rodriguez will file an affidavit wherein he consents to the motion and acknowledges he understands
the additional time may be excludable time for the purposes of the Speedy Trial Act.              Upon
consideration, the motions will be granted.


         IT IS ORDERED:
         Defendants Rivera's and Rodriguez's motions for an extension of time (Filing Nos. 35 and 36)
are granted. The defendants are given until on or before June 20, 2011, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by granting such
motions and outweigh the interests of the public and the defendants in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between May 19, 2011, and June
20, 2011, shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendants' counsel require additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).


         DATED this 19th day of May, 2011.

                                                        BY THE COURT:

                                                        s/Thomas D. Thalken
                                                        United States Magistrate Judge
